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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 IN RE THE APPLICATION OF THE
 BALTIMORE SUN FOR ACCESS TO                        18-CV-2444-CCB
 CERTAIN SEALED COURT RECORDS
                                                     Related To Misc. Nos.
                                                     16-152
                                                     16-189
                                                     16-306
                                                     16-307
                                                     16-mc-633
                                                     16-641
                                                     16-mc-363
                                                     16-mc-634
                                                     16-mc-744
                                                     16-778
                                                     16-2035-ADC
                                                     16-2103-JMC
                                                     16-2238-SAG
                                                     16-2855-BPG
                                                     16-3369-SAG
                                                     17-158
                                                     17-159
                                                     17-587-SAG to 17-601-SAG
                                                     17-602-SAG
                                                     17-623-SAG
                                                     17-624-SAG


                   NOTICE OF FILING OF UNSEALED DOCUMENTS

       The United States of America, by its undersigned counsel, hereby files this notice that

certain records sought in the Application of the Baltimore Sun for Access to Certain Sealed Court

Records (Document No. 1, filed August 10, 2018) have been unsealed. The Application requested

that the Government unseal three categories of documents related to the investigation of the

Baltimore Police Department’s Gun Trace Task Force conducted by undersigned counsel: (1)

“search warrant materials”; (2) “PR/TT Materials,” referring to pen register and trap and trace

devices; and (3) “Section 2703(d) Materials.”
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        In its response to the Baltimore Sun’s application, the United States indicated that it would

unseal the documents covered by the Application by November 16, 2018 (Document No. 6, filed

September 26, 2018). The Baltimore Sun agreed to this release date and the Court approved it via

a marginal order on October 12, 2018 (Document No. 7).

        Attached to this filing are redacted versions of the documents that the Application sought

to unseal. To protect the privacy of those involved, the Government has redacted all personally

identifiable information – e.g., email addresses, home addresses, telephone numbers, and names

of uncharged individuals and uncharged entities from the documents that are subject to unsealing

at that time. 1

                                                              Respectfully submitted,

                                                              Robert K. Hur
                                                              United States Attorney

                                                     By:
                                                              Leo J. Wise
                                                              Derek E. Hines
                                                              Assistant United States Attorneys

Dated: November 16, 2018


                                      CERTIFICATE OF SERVICE

        I hereby certify that this filing was served on defense counsel via ECF electronic filing.


                                                     By:
                                                              Leo J. Wise
                                                              Assistant United States Attorney


1
  There is ordinarily no legitimate governmental interest served by the government's public allegation of wrongdoing
by an uncharged party. See, e.g., In re Smith, 656 F.2d 1101, 1106-07 (5th Cir. 1981). Courts have applied this
reasoning to preclude the public identification of unindicted third-party wrongdoers in plea hearings, sentencing
memoranda, and other government pleadings. See, e.g., Finn v. Schiller, 72 F.3d 1182 (4th Cir. 1996); United States
v. Briggs, 513 F.2d 794 (5th Cir. 1975); United States. v Anderson, 55 F.Supp.2d 1163 (D. Kan 1999); United States
v. Smith, 992 F. Supp. 743 (D.N.J. 1998).

                                                         2
